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FILED

Clerk, US. District & Bankruptcy
Court for the District of Columbia

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)

UNITED STATES OF AMERICA )
)

V. ) Criminal Action No. 22-61 (RBW)

)

JON NICHOLAS HENEGHAN and )
CAROL O’NEAL KICINSKI, )
)

Defendants. )

)

ORDER

Upon consideration of the defendants’ Joint Motion to Continue Sentencing Due to
Medical Concerns of Counsel, ECF No. 55, and for good cause shown, it is hereby

ORDERED that the defendants’ Joint Motion to Continue Sentencing Due to Medical
Concerns of Counsel, ECF No. 55, is GRANTED. It is further

ORDERED that the sentencing hearing currently scheduled for February 23, 2023, is
VACATED. It is further

ORDERED that, on April 3, 2023, at 10:00 a.m., the parties shall appear for a status
hearing before the Court in Courtroom 16 on the 6th floor at the E. Barrett Prettyman United
States Courthouse, 333 Constitution Avenue, N.W., Washington, D.C. 20001.

SO ORDERED this 16th day of February, 2023.

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REGGIE B. WALTON
United States District Judge
